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           EXHIBIT 19
Redacted Version of Document Sought
            to be Sealed
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               o August 27, noon Pacific Google files joint letter.
          We disagree with your characterization that Google is proposing “to keep Mr. Brush in the dark.” Google is
           prepared to participate in a joint update on the biscotti preservation issue. However, Google does not consent to
           Plaintiffs unilaterally submitting unsolicited argument and briefing to Special Master Brush. If you intend to
           submit something to Special Master Brush unilaterally, please provide it to us in advance so we may review and
           ascertain whether we object or not.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
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From: David Straite [mailto:dstraite@dicellolevitt.com]
Sent: Wednesday, August 25, 2021 4:15 PM
To: Josef Ansorge <josefansorge@quinnemanuel.com>; Viola Trebicka <violatrebicka@quinnemanuel.com>; Jomaire
Crawford <jomairecrawford@quinnemanuel.com>; Teuta Fani <teutafani@quinnemanuel.com>
Cc: QE Calhoun <qecalhoun@quinnemanuel.com>; Lesley Weaver <lweaver@bfalaw.com>; Jay Barnes
<jaybarnes@simmonsfirm.com>; Adam Prom <aprom@dicellolevitt.com>; Angelica Ornelas <aornelas@bfalaw.com>;
An Truong <atruong@simmonsfirm.com>; Eric Johnson <ejohnson@simmonsfirm.com>; Amy Keller
<akeller@dicellolevitt.com>
Subject: RE: Calhoun v. Google

                                                  [EXTERNAL EMAIL from dstraite@dicellolevitt.com]


Joey,

Plaintiffs respond to your email as follows:

     1. Friday Joint Submission:
            a. Plaintiffs have made three alternative proposals to get us to agreement on a preservation plan:
                preservation of a limited subset of fields in relevant logs; sampling; and preservation at the front
                end. We explored all three concepts at the Aug. 4 deposition, but given that the witness was
                unprepared, all three proposals require Google to provide additional basic information, as outlined on
                our August 18 meet‐and‐confer and repeated in our August 19 letter. We cannot refine our proposals
                further unless and until Google provides the missing information.
            b. Plaintiffs are available tomorrow morning at 9am PT as you propose. I’m happy to circulate a Zoom link,
                or you can, just let us know your preference.
            c. Your proposed schedule to exchange sections is fine, except we will need to move tomorrow night’s
                exchange back if we don’t get Google’s proposal by COB today, and also we need to move the Friday
                exchange up to 9am Pacific in order to meet the 12noon Pacific filing deadline. Thank you for offering to
                handle the filing (which will certainly be under seal) but we have a team on standby as well. Just let us
                know if we can assist or take over the filing.
                                                                                  3
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    2. Tim Schumann Deposition: we look forward to getting the drafts and thanks again for taking the lead on this
       project, we appreciate it.
    3. Special Master Brush Update: we agree that supplemental briefing was not requested, and Plaintiffs are not
       proposing it. We are, however, proposing a complete update, not a partial update. Mr. Brush did not request a
       partial update, and we believe the parties should identify any and all relevant updates, not just b‐logs. We don’t
       think it’s a good idea to keep Mr. Brush in the dark as you propose. Plaintiffs will therefore file our own update.

Best,


             David A. Straite, CIPP/US
             DICELLO LEVITT GUTZLER

             646.933.1000 ext 505


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From: David Straite
Sent: Wednesday, August 25, 2021 2:36 PM
To: Josef Ansorge <josefansorge@quinnemanuel.com>; Viola Trebicka <violatrebicka@quinnemanuel.com>; Jomaire
Crawford <jomairecrawford@quinnemanuel.com>; Teuta Fani <teutafani@quinnemanuel.com>
Cc: QE Calhoun <qecalhoun@quinnemanuel.com>; Lesley Weaver <lweaver@bfalaw.com>; Jay Barnes
<jaybarnes@simmonsfirm.com>; Adam Prom <aprom@dicellolevitt.com>; Angelica Ornelas <aornelas@bfalaw.com>;
An Truong <atruong@simmonsfirm.com>; Eric Johnson <ejohnson@simmonsfirm.com>; Amy Keller
<akeller@dicellolevitt.com>
Subject: RE: Calhoun v. Google

Joey,

We are in receipt of your email below. We are discussing internally, but just one point of clarification: the Court ordered
the joint submission to be filed by 12noon Pacific on Friday, not 5pm. See Dkt. No. 276, para. 1. Thus your proposed
schedule for exchange of sections will need to be adjusted.

Best,


             David A. Straite, CIPP/US
             DICELLO LEVITT GUTZLER

             646.933.1000 ext 505


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                                                                   4
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From: Josef Ansorge <josefansorge@quinnemanuel.com>
Sent: Wednesday, August 25, 2021 2:22 PM
To: David Straite <dstraite@dicellolevitt.com>; Viola Trebicka <violatrebicka@quinnemanuel.com>; Jomaire Crawford
<jomairecrawford@quinnemanuel.com>; Teuta Fani <teutafani@quinnemanuel.com>
Cc: QE Calhoun <qecalhoun@quinnemanuel.com>; Lesley Weaver <lweaver@bfalaw.com>; Jay Barnes
<jaybarnes@simmonsfirm.com>; Adam Prom <aprom@dicellolevitt.com>; Angelica Ornelas <aornelas@bfalaw.com>;
An Truong <atruong@simmonsfirm.com>; Eric Johnson <ejohnson@simmonsfirm.com>; Amy Keller
<akeller@dicellolevitt.com>
Subject: RE: Calhoun v. Google

David,

Thank you for your letter. We are working on a more detailed response, but wanted to address the following time-
sensitive issues.

     1. Preservation Proposal. We are aiming to provide you with Google’s preservation proposal before the close of
        business today. Please let us know if:
             Plaintiffs will also be providing a proposal, separate from your August 19 letter.
             Plaintiffs are available to meet and confer regarding Google’s proposal at 9 AM Pacific on August 26.
             Plaintiffs agree to the following exchange schedule for the August 27 submission:
                       August 26, 5 PM Pacific mutual exchange of 2 pages consisting of preservation proposal.
                       August 27, noon Pacific mutual exchange of .5 pages addressing the other party’s preservation
                        proposal (if necessary).
                       August 27, 5 PM Pacific Google files joint letter.

     2. Tim Schumann deposition. We will provide you with drafts of the requisite documents later today. You will
        note that those drafts state that there is to be no impediment to questions that would be proper in a deposition in
        the United States. Please let us know if that does not address your concerns. Note that some of these letters will
        need to be translated into German to submit them to the relevant Canton in Switzerland. We can arrange for the
        translation once Plaintiffs sign off on the English text.

     3. Special Master Brush Update. Google does not object to the parties providing a joint update to Special Master
        Brush to explain that Google is in the process of collecting b-log data. However, Google does not agree to the
        other updates Plaintiffs are proposing. Special Master Brush has consistently explained that he will request
        additional briefing if and when that is necessary.

Best,

Joey

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

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From: David Straite [mailto:dstraite@dicellolevitt.com]
Sent: Tuesday, August 24, 2021 6:30 PM
To: Viola Trebicka <violatrebicka@quinnemanuel.com>; Jomaire Crawford <jomairecrawford@quinnemanuel.com>;
Teuta Fani <teutafani@quinnemanuel.com>; Josef Ansorge <josefansorge@quinnemanuel.com>
Cc: QE Calhoun <qecalhoun@quinnemanuel.com>; Lesley Weaver <lweaver@bfalaw.com>; Jay Barnes
<jaybarnes@simmonsfirm.com>; Adam Prom <aprom@dicellolevitt.com>; Angelica Ornelas <aornelas@bfalaw.com>;
An Truong <atruong@simmonsfirm.com>; Eric Johnson <ejohnson@simmonsfirm.com>; Amy Keller
<akeller@dicellolevitt.com>
Subject: Calhoun v. Google

                                        [EXTERNAL EMAIL from dstraite@dicellolevitt.com]


Dear counsel,

Please see attached letter following our meet‐and‐confer video conferences this past Friday, Monday, and earlier today.

Regards,


             David A. Straite, CIPP/US
             DICELLO LEVITT GUTZLER

             646.933.1000 ext 505


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